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               EXHIBIT A
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
 MRP PROPERTIES COMPANY, LLC, §
 VALERO REFINING COMPANY-     §
 OKLAHOMA, VALERO REFINING    §
 COMPANY-TENNESSEE, L.L.C.,   §
 THE PREMCOR REFINING GROUP   §
 INC., VALERO REFINING-TEXAS, §
 L.P. and ULTRAMAR INC.       §
                              §
      Plaintiffs,             §
                              §            Case No.: 1:17-cv-11174-TLL-PTM
 v.                           §
                              §
 THE UNITED STATES OF AMERICA.§
                              §
                              §
      Defendant.              §

                     SECOND AMENDED COMPLAINT
       Plaintiffs, MRP PROPERTIES COMPANY, LLC (“MRP”), VALERO

 REFINING COMPANY-OKLAHOMA (“Valero-OK”), VALERO REFINING

 COMPANY-TENNESSEE, L.L.C. (“Valero-TN”), THE PREMCOR REFINING

 GROUP INC. (“Premcor”), VALERO REFINING-TEXAS, L.P. (“Valero-TX”)

 and ULTRAMAR INC. (“Ultramar”) (collectively, the “Valero Companies” or

 “Plaintiffs”), by and through their undersigned attorneys, allege the following

 against Defendant, THE UNITED STATES OF AMERICA (“Defendant” or the

 “Government”), in this Second Amended Complaint:
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                                  INTRODUCTION

       1.     Leading up to and during World War II (“WWII”), the Government

 controlled the operation of the nation’s petroleum refining industry broadly and the

 nation’s refineries specifically to ensure the manufacture and availability of

 petroleum products necessary to win the war. Government control was complete

 and pervasive. At the refinery level, the Government determined allocations and

 sources of crude oil and other feed stocks, what products to produce from those

 materials, the level of production, and the prices at which, and the purchasers to

 whom, products would be sold. The Government had and exercised the authority to

 cut off crude oil supplies entirely or to seize a refinery in the event of non-

 compliance with Government directives. Simply put, during the wartime period,

 refineries were run in the way the Government required them to be run.

       2.     Today, the Valero Companies are addressing contamination and

 incurring environmental response costs associated with the Government’s wartime

 operations at certain refineries the Valero Companies now own. To be clear, with

 the exception of Ultramar, the Valero Companies did not own or operate the

 refineries that are the subject of this action (the “Sites”) during the wartime period.

 The Valero Companies purchased the Sites much later in time.              The Valero

 Companies have requested that the Government pay its fair share of these response

 costs through a negotiated process, but the Government has refused to do so. Thus,



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 the Valero Companies are bringing this action pursuant to the Comprehensive

 Environmental Response, Compensation, and Liability Act of 1980, as amended

 (“CERCLA”), for response costs related to the wartime contamination at the Sites.

 After all, it was the Government—and not the Valero Companies or anyone else—

 that directed and controlled the type and amount of wastes generated and, ultimately,

 released at each of the Sites during the wartime period.

                                   JURISDICTION

       3.     Jurisdiction is proper in this Court under 28 U.S.C. § 1331 (civil action

 arising under the laws of the United States) and 28 U.S.C. § 2201 (declaratory relief).

 Jurisdiction is also proper in this Court under 42 U.S.C. §§ 9613(b) and 9613(g)(2)

 (CERCLA).

                                       VENUE

       4.     Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1),

 1391(c)(2) and 1391(e)(1)(A) and 42 U.S.C. § 9613(b).

                                      PARTIES

       5.     Plaintiff, MRP Properties Company, LLC (“MRP”), is a limited

 liability company organized under the laws of the State of Michigan.

       6.     Plaintiff, Valero Refining Company-Oklahoma (“Valero-OK”), is a

 corporation organized under the laws of the State of Michigan.




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       7.    Plaintiff, Valero Refining Company-Tennessee, L.L.C. (“Valero-TN”),

 is a limited liability company organized under the laws of the State of Delaware.

       8.    Plaintiff, The Premcor Refining Group Inc. (“Premcor”), is a

 corporation organized under the laws of the State of Delaware.

       9.    Plaintiff, Valero Refining-Texas, L.P. (“Valero-TX”), is a limited

 partnership organized under the laws of the State of Texas.

       10.   Plaintiff, Ultramar Inc. (“Ultramar”), is a corporation organized under

 the laws of the State of Nevada.

       11.   Defendant, the United States of America (“Defendant” or the

 “Government”), is named for the actions of its departments, agencies and

 instrumentalities, including but not limited to: the Reconstruction Finance

 Corporation, the Defense Supplies Corporation and the Defense Plant Corporation;

 the War Production Board, including its predecessors, the Office of Production

 Management and the Supplies Priorities and Allocation Board (collectively, the

 “War Production Board” or “WPB”); the Petroleum Administration for War,

 including its predecessors, the Office of the Petroleum Coordinator for National

 Defense and Petroleum Coordinator for War (collectively, the “Petroleum

 Administration for War” or “PAW”); and the Department of the Interior, as

 successor to the PAW. The Government has been served and has appeared in this

 lawsuit.



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                           FACTUAL ALLEGATIONS

 A.    THE BASES OF GOVERNMENT AUTHORITY OVER THE REFINING INDUSTRY.

       12.   In response to WWII, and in the interest of national defense, the

 Government wielded broad authority over the entire petroleum refining industry.

 With comprehensive wartime powers, the Government controlled the operations of

 the refining industry by issuing regulations, orders and directives; through direct

 involvement by government personnel; by controls over labor; and by other means,

 all designed to increase manufacturing outputs of wartime products. Some of these

 wartime powers were in place well before the United States entered WWII as a

 combatant following the attack on Pearl Harbor on December 7, 1941.

       13.   The National Defense Act of 1916 and the Selective Training and

 Service Act of 1940 each gave to the President the authority to take immediate

 possession of any manufacturing plant and produce munitions, war products or other

 materials “as may be required.”      Under the very real threat of seizure—the

 Government did, in fact, seize refineries during the wartime period—refineries were

 obligated to comply with Government orders to manufacture specific materials and

 products.

       14.   In August 1940, the Reconstruction Finance Corporation (“RFC”),

 itself a Government corporation, established several subsidiary corporations to aid

 in the defense of the nation. The Defense Supplies Corporation (“DSC”) was



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 formed, in part, to buy and sell high-octane aviation gasoline (“avgas”), a new

 product for which the Government was the primary market. The Defense Plant

 Corporation (“DPC”) was created to finance, and to construct with Federal funds,

 facilities for the production of war products including avgas and avgas components.

 The market created, and the facilities financed and constructed through these

 Government corporations, led to the expansion, conversion and reconfiguration of

 privately-owned refinery facilities for the manufacture of war products under the

 supervision and control of the Government.

       15.    On May 27, 1941, the President declared a state of Unlimited National

 Emergency. On the following day, he appointed Interior Secretary Harold Ickes as

 the Petroleum Coordinator for National Defense and created the Office of the

 Petroleum Coordinator (“OPC”).       The OPC was given the mandate to make

 petroleum and its products continuously available “in the proper forms, at the proper

 places[,]” to satisfy both military and civilian requirements. The OPC was the

 predecessor agency to the PAW.

       16.    The United States declared war on Japan on December 8, 1941, and on

 Germany on December 11, 1941. That same month, Congress enacted the First War

 Powers Act of 1941, granting broad war powers to the President.

       17.    In January 1942, President Roosevelt issued Executive Order 9024,

 which granted unprecedented wartime powers of procurement and production to the



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 WPB. The WPB had the power to impose mandatory policies and procedures for

 the most effective prosecution of war procurement and materials production.

       18.    In March 1942, Congress enacted the Second War Powers Act, which

 granted the President the power to prioritize and allocate any materials that were

 critical or essential to the war effort. Various materials necessary for the day-to-day

 operations of the refining industry—such as steel and other materials necessary to

 repair or replace aging or failing facilities—were strictly limited by the President’s

 broad allocation authority.

       19.    In December 1942, President Roosevelt issued Executive Order 9276

 to establish the PAW as the successor to the OPC. Executive Order 9276 provided

 the PAW with broad discretionary authority. The PAW carried out and expanded

 national plans, policies and objectives for the petroleum industry initiated by the

 OPC and controlled industry production on a national level to meet wartime

 demands. The PAW divided the country into districts, which implemented national

 objectives at a regional level and carried out the administration of orders and

 directives. The PAW organized the district offices in the same manner as the PAW’s

 national headquarters, creating district industry committees and specific departments

 for production, refining, supply and transportation, and distribution and marketing.

 District offices had a detailed understanding of regional refineries.




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         20.      Both the OPC and later the PAW issued “Recommendations” and

 “Directives”1 as necessary to achieve military goals, requiring refineries to alter

 operations and refinery yields at a moment’s notice. The PAW regularly exercised

 its right to enforce its orders and directives to the petroleum industry and its

 refineries to ensure the supply of products needed for the successful prosecution of

 the war.

 B.      THE GOVERNMENT EXERCISED ITS AUTHORITY                                        TO     CONTROL          THE
         REFINING INDUSTRY.

         21.      Through the PAW, the WPB and other agencies, the Government

 directed, managed and controlled the operations of the refining industry, such that

 the entire industry operated as one Government-controlled and integrated enterprise

 during the wartime period. As A.P. Frame, Director of PAW’s Refining Division,

 told the U.S. Senate shortly after the end of the war, the refining industry “had met

 every demand of the military for all kinds of petroleum products. The small refiners

 as well as the larger ones had been required to utilize their productive capacity to the

 maximum[.] [I]t had in effect been operated as if its various refineries were

 component parts of one huge Nation-wide refinery.”

         22.      More specifically, the Government operated the nation’s refineries by

 controlling and directing the following, inter alia, at the refinery level: (i) the


 1
   While the PAW initially issued “Recommendations,” in December 1942, the PAW was authorized to issue
 “petroleum directives” or “petroleum administrative orders,” which were more consistent with their scope and purpose
 to, among other things, direct the production, refining, storage, shipment and distribution of petroleum products.


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 allocation—by type and amount—of crude oil and other feed stocks, without which

 a refinery could not run; (ii) the procurement priorities to obtain services, equipment

 and parts required to keep refineries operating; (iii) the types and specifications of

 the war-related products to be manufactured; (iv) the levels of production for each

 of those products; (v) the price of the products and the profits made; and (vi) to

 whom the products would be sold within the Government-controlled supply chain.

       23.    To ensure the consistent production of prioritized war products, the

 Government was intimately involved in virtually every aspect of the refineries’

 operations, from the raw materials, to the production processes and equipment, to

 labor issues, and more. Perhaps the only thing the Government did not do was to

 manually turn the levers and valves at the refineries.

       24.    Increases in production and other required changes to product yields

 often came at the expense of overall refinery efficiency and waste management. This

 was an expected and inherent consequence of the victory-at-all-costs policy of the

 Government in WWII. For example, during WWII, the WPB controlled approval of

 the construction of necessary refinery units and equipment. In some instances, it

 denied refinery construction projects relating to pollution control that were deemed

 non-essential to the war effort.

       25.    The Government also authorized and approved designs for refinery

 construction and unit conversion projects for the manufacture of war products, which



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 projects altered waste outputs, changed waste management obligations, and/or

 contemplated using existing refinery waste handling and disposal infrastructure.

 Moreover, in the process of reviewing, evaluating and authorizing wartime

 construction and conversion projects, the PAW project analyses show that the

 Government necessarily contemplated the disposal of waste products inherent in

 such processes and designs.

       26.    The unique wartime relationship between the Government and the

 nation’s refineries rose to a level well beyond the Government’s regulatory role. The

 Government intimately involved itself in refinery operations to meet the otherwise

 unattainable demand for wartime products, particularly avgas. The Government

 suspended antitrust laws in order to freely coordinate the entire petroleum industry

 across company lines and required that refineries share intellectual property to

 maximize production. Refineries that did not comply risked the loss of crude

 allocations or seizure. As J. Howard Marshall (who served during the war as the

 OPC’s and the PAW’s chief counsel and, later, the PAW’s assistant deputy

 administrator) wrote in his autobiography:

       Nothing less than a full-fledged partnership between all of government
       and all of the oil industry gave any promise of making ends meet.
       Given federal control of supplies from the oil industry and critical
       materials supplied to that industry – steel, pipe, pumps, chemicals, and
       equipment for example – it could be done… No statutory authority was
       needed to coordinate the whole industry, given our control (direct or
       indirect) of the critical materials without which firms could not long
       survive. Perhaps it was extralegal, but it was practical.

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       27.    Through comprehensive control, the Government, on a day-to-day

 basis, operated the nation’s refineries, including the Sites that are the subject of this

 action. The Government’s control necessarily extended to the generation of waste

 and its release into the environment. By creating the waste—and dictating the type

 and amount of such waste from each given crude oil allocation—the Government

 contemplated, understood and was necessarily involved in waste operations at each

 Site. Contamination of the Sites resulted from day-to-day operations and inevitable

 releases from operating units and other equipment.

       28.    As the de facto operator of the Sites, the Government released

 hazardous wastes into the environment and disposed of hazardous waste streams into

 the environment. Through its sweeping control and authority over day-to-day

 refinery operations, and its unprecedented regulatory authority over the entire

 petroleum refining industry, the Government possessed or maintained constructive

 possession of known hazardous waste products involved in Government-controlled

 manufacturing processes at the refineries.

 C.    GOVERNMENT CONTROL OF SPECIFIC REFINERY SITES.

       29.    The various wartime operations conducted under Government control

 at the Sites resulted in the generation, release and disposal of significant amounts of

 hazardous wastes or substances, which has, at least in part, caused the contamination

 for which response costs are being incurred. As set forth in more detail below, this

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 contamination created a threat to human health and/or the environment that

 warranted investigation and appropriate response actions under regulatory oversight.

 As a result, the Valero Companies have incurred and will continue to incur response

 costs consistent with the National Contingency Plan (“NCP”) and investigation and

 monitoring costs to which the NCP does not apply.

             1.     The Leonard Alma Refinery

       30.   The former Leonard Refineries, Inc. owned and operated a refinery

 located in Alma, Michigan (the “Leonard Alma Refinery”). During the wartime

 period, the Government exercised day-to-day control over the operations of the

 Leonard Alma Refinery.

       31.   The Leonard Alma Refinery was subject to the Government’s specific

 allocations of crude oil. As a small wartime refinery, the Leonard Alma Refinery

 was particularly susceptible to Government control as the amount of crude oil

 allocated by the Government dictated the refinery’s product yields. When crude oil

 allocations were insufficient, the Leonard Alma Refinery was directed to contact the

 PAW to request supplemental allocations of crude oil. In short, the PAW maintained

 final control over petroleum inputs (crude oil allocation) at the refinery.     By

 controlling the raw materials available to the refinery (i.e., the inputs), the

 Government effectively controlled the day-to-day operations of the Leonard Alma

 Refinery.



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       32.    In addition to limiting the amount of crude oil available to the Leonard

 Alma Refinery, the Government also controlled the type of crude oil allocated. Most

 refineries in PAW-District II (which included the Leonard Alma Refinery) were

 equipped to process “sweet” crude oil.       As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which

 had a higher sulfur content and required additional refining and processing in order

 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was highly corrosive and caused leaks and other problems in equipment designed at

 the time to process sweet crude oil. By dictating the type and amount of crude oil

 available to the refinery, and by allocating a type of crude oil that PAW-District II

 refineries were not equipped to process, the Government impacted the waste profile

 of the refinery.

       33.      The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Leonard Alma Refinery during the wartime

 period. Such control extended to the type and specifications of the war products and

 their level of production. For example, the Government directed that the Leonard

 Alma Refinery “shall not manufacture or blend any civilian gasoline” except in

 conformity with Government directives. The PAW issued instructions in a telegram

 requiring the Leonard Alma Refinery to change its operations in order to

 immediately produce maximum yields of kerosene when that product was in short



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 supply. The Leonard Alma Refinery expanded its facilities to produce avgas

 components at the direction of the Government, which authorized the refinery to

 change its product yields to meet wartime needs. The Leonard Alma Refinery

 converted its catpoly plant to codimer production, a critical war product necessary

 in the production of 100-octane avgas for its ability to boost octane levels. By

 dictating the products manufactured (i.e., the outputs)—and their level of

 production—the Government necessarily controlled how the refinery operated on a

 day-to-day basis.

       34.    In addition to controlling the inputs and outputs at the Leonard Alma

 Refinery, the Government also directed the prices at which, and the purchasers to

 whom, products were sold. For example, one contract to supply avgas components

 (i.e., codimer) to the Standard of Louisiana’s Baton Rouge refinery established that

 the “price to be paid by Buyer to Seller for the product described is that agreed upon

 between Seller and Petroleum Administrator for War.” While some negotiation over

 price occurred during the wartime period, the Government maintained final

 approvals over wartime product pricing and refiner profits were systematically

 limited.

       35.    The Government’s control over the Leonard Alma Refinery extended

 to hazardous waste generation, releases and disposal.            Through direction,

 management and control over the refinery’s inputs and outputs, the Government not



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 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Leonard Alma Refinery. PAW-District II compiled

 monthly production statistics and submitted a summary of production yields,

 including “losses,” to PAW’s Headquarters.           The Leonard Alma Refinery

 experienced losses in different ways, some of which took the form of normal releases

 from 1940-era equipment and operating units or through disposal of process wastes

 using typical methods of the time. Regardless, by dictating the production of war

 products, which necessitated changes in refining processes, the Government

 controlled and acted as an operator of the Leonard Alma Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.

       36.    Investigations into contamination at the Leonard Alma Refinery site

 have revealed the presence of CERCLA-listed hazardous substances, such as volatile

 organic compounds, semi-volatile compounds, and metals, including varying

 amounts of cyanide, cobalt, mercury, selenium, hexavalent chromium, lead, iron,

 manganese, and arsenic. Groundwater contamination at the site presented a potential

 migration threat. This contamination was determined to pose a threat to human

 health and/or the environment and necessitated the response actions taken at the site

 to date, prompting the Michigan Department of Environmental Quality (“MDEQ”)

 to, among other things, enter into consent orders.



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       37.    The response activities at the site have been performed in substantial

 compliance with the NCP and under the supervision of and in coordination with

 MDEQ and EPA. For example, environmental consultants were retained and site

 assessments were performed to characterize the site. Multiple surface soil sampling,

 ambient air sampling, soil vapor sampling, sub-slab vapor sampling, and non-

 aqueous phase liquid assessment boring investigations have been conducted in

 accordance with a RCRA Facility Investigation Work Plan. Risk of exposure to

 workers was considered in the RCRA Facility Investigation (“RFI”). Response

 actions have focused on characterization, interim responses at the perimeter of the

 site, and addressing highly toxic or highly mobile "principle threats" that represent

 a significant risk to human health and/or the environment. Accordingly, initial

 efforts have focused on stabilizing plume migration and controlling contamination

 through a groundwater control system.         Initial response actions specifically

 contemplated future action necessary to evaluate the degree of source remediation

 and/or controls necessary to prevent off-site migration.        The Environmental

 Protection Agency (“EPA”) and the MDEQ have overseen the cleanup. Agency

 requirements, requests, submissions, and oversight (including as set forth or

 provided in the consent orders), and other community relations and notice activities,

 have satisfied any applicable public information and community relations

 requirements.



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       38.    The Leonard Alma Refinery was shut down in 1999. Pursuant to an

 asset purchase agreement, in 2008 Plaintiff MRP purchased the Leonard Alma

 Refinery site and acquired certain rights and benefits that encompass the right to

 pursue cost recovery claims. Since that time, MRP has incurred and will continue

 to incur additional response costs in addressing contamination resulting, at least in

 part, from the Government’s operations of the Leonard Alma Refinery during the

 wartime period.

              2.    The Mid-West Alma Refinery

       39.    The former Mid-West Refineries, Inc. owned and operated a refinery

 located in Alma, Michigan (the “Mid-West Alma Refinery”). During the wartime

 period, the Government exercised day-to-day control over the operations of the Mid-

 West Alma Refinery.

       40.    The Mid-West Alma Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period. For

 example, in July 1943, the Mid-West Alma Refinery informed the PAW that it was

 receiving 500 barrels per day less than its crude oil allocation. As a result, the

 refinery was forced to notify certain customers that it would be unable to supply gas

 oils and light-grade fuel oils due to a shortage of crude oil. One intended effect of

 PAW’s crude oil allocations was to control the refinery’s product yields and limit

 the manufacture of certain products that the PAW deemed non-essential to the war



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 effort. By limiting the supply of crude oil and other raw materials (i.e., the inputs),

 the Government controlled the day-to-day operations of the Mid-West Alma

 Refinery.

       41.    In addition to limiting the amount of crude oil available to the Mid-

 West Alma Refinery, the Government also controlled the type of crude oil allocated.

 Most refineries in PAW-District II (which included the Mid-West Alma Refinery)

 were equipped to process “sweet” crude oil. As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which

 had a higher sulfur content and required additional refining and processing in order

 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was also highly corrosive and caused leaks and other problems in equipment

 designed at the time to process sweet crude oil. By dictating the type and amount of

 crude oil available to the refinery, and by allocating a type of crude oil that PAW-

 District II refineries were not equipped to process, the Government impacted the

 waste profile of the refinery.

       42.    The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Mid-West Alma Refinery during the wartime

 period. Such control extended to the type and specifications of the products and the

 level of production. For example, the Government directed the Mid-West Alma

 Refinery to produce avgas components (i.e., codimer) and 80-octane all-purpose



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 military gasoline. The Government also attempted to require the refinery to make

 7-0-2 Navy diesel fuel, but it was determined such production would compromise

 codimer production at the facility. The Government authorized certain product runs,

 and denied others, depending on changing priorities. By dictating the products

 manufactured (i.e., the outputs)—and their level of production—the Government

 necessarily controlled how the refinery operated on a day-to-day basis.

       43.    The Mid-West Alma Refinery also converted its operations to produce

 critical war products, particularly codimer. In 1942, the Mid-West Alma Refinery

 submitted a proposal to the Government to convert an existing catalytic

 polymerization unit to the production of codimer, which the OPC subsequently

 approved. The Mid-West Alma Refinery was also forced to sacrifice production of

 motor gasoline in order to make the requisite feedstocks necessary to manufacture

 codimer.    Then, in 1945, the Government expressly, though conditionally,

 authorized the discontinuation of codimer production at the refinery, granting

 permission to Mid-West to “utilize the units involved in the future as you see fit

 unless specifically requested to do otherwise.” By authorizing or restricting how

 refinery equipment would be used during the war, and maintaining final approval

 authority over all construction projects, the Government assumed responsibility for

 the waste products and disposal practices inherent in refining operations of the time.




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       44.   In addition to controlling the inputs and outputs at the Mid-West Alma

 Refinery, the Government also exercised control over the prices at which, and the

 purchasers to whom, products were sold. For example, the Government reviewed

 and rejected the cost formula for determining prices at which the Mid-West Alma

 Refinery could sell codimer to third parties. The PAW also changed the companies

 to whom Mid-West was authorized and required to supply war products.

       45.   The Government’s control over the Mid-West Alma Refinery extended

 to hazardous waste generation, releases and disposal.          Through direction,

 management and control over the refinery’s inputs and outputs, the Government not

 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Mid-West Alma Refinery. PAW-District II compiled

 monthly production statistics and submitted a summary of production yields,

 including “losses,” to PAW’s Headquarters.          The Mid-West Alma Refinery

 experienced losses in different ways, some of which took the form of normal releases

 from 1940-era equipment and operating units or through disposal of process wastes

 using typical methods of the time. Regardless, by dictating the production of war

 products, which necessitated changes in refining processes, the Government

 controlled and acted as an operator of the Mid-West Alma Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.



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       46.   Investigations into contamination at the Mid-West Alma Refinery site

 have revealed the presence of CERCLA-listed hazardous substances. An MDEQ

 review of site information found that hazardous substances have been released, been

 deposited, or come to be located at the Mid-West Alma Refinery site in

 concentrations exceeding cleanup requirements.      Elevated levels of comingled

 hydrocarbons, phenols, and metals, including lead and mercury, were detected in

 groundwater wells and sampling. This contamination necessitated certain response

 activities, and MDEQ requested that certain obligations be met.

       47.   Response actions taken at the Mid-West Alma Refinery site have been

 performed in substantial compliance with the NCP and under the supervision of and

 in coordination with MDEQ. For example, MDEQ requested planned evaluation

 activities, response activities determined by MDEQ to be technically sound and

 necessary, and the creation of a Remedial Action Plan that would achieve cleanup

 criteria consistent with state law. Groundwater monitoring wells have been installed

 at the site and a comprehensive evaluation of LNAPL bodies took place in 2017.

 MDEQ requirements, requests, submissions, and oversight, and other community

 relations and notice activities, have satisfied any applicable community relations

 requirements.

       48.   The Mid-West Alma Refinery was shut down in 1964. Pursuant to an

 asset purchase agreement, in 2008 Plaintiff MRP purchased the Mid-West Alma



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 Refinery site and acquired certain rights and benefits that encompass the right to

 pursue cost recovery claims. Since that time, MRP has incurred and will continue

 to incur additional response costs in addressing contamination resulting, at least in

 part, from the Government’s operations of the Mid-West Alma Refinery during the

 wartime period.

              3.    The Roosevelt Mount Pleasant Refinery

       49.    The former Roosevelt Oil Company owned and operated a refinery

 located in Mount Pleasant, Michigan (the “Roosevelt Mount Pleasant Refinery”).

 During the wartime period, the Government exercised day-to-day control over the

 operations of the Roosevelt Mount Pleasant Refinery.

       50.    The Roosevelt Mount Pleasant Refinery was subject to specific

 Government allocations of crude oil and other raw materials during the wartime

 period. The Roosevelt Mount Pleasant Refinery routinely requested additional

 allocations of crude oil (and tetra-ethyl lead) from the Government. At one point,

 C.L. Maguire, President of Roosevelt Oil Company, wrote to the PAW complaining

 of the desperate shortage of crude oil and its effect on the refinery’s outputs. After

 enumerating his complaints, Maguire noted the company would “of course be good

 patriots and abide by [PAW’s] decision” regarding his request to increase the

 refinery’s crude oil allocation. One intended effect of PAW’s crude oil allocations

 was to control the refinery’s product yields and limit the manufacture of certain



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 products that the PAW deemed non-essential to the war effort. By limiting the

 supply of crude oil and other raw materials (i.e., the inputs), the Government

 controlled the day-to-day operations of the Roosevelt Mount Pleasant Refinery.

       51.   In addition to limiting the amount of crude oil available to the Roosevelt

 Mount Pleasant Refinery, the Government also controlled the type of crude oil

 allocated. Most refineries in PAW-District II (which included the Roosevelt Mount

 Pleasant Refinery) were equipped to process “sweet” crude oil.           As the war

 progressed, though, the Government required that PAW-District II refineries process

 “sour” crude oil, which had a higher sulfur content and required additional refining

 and processing in order to manufacture finished products. Due to its higher sulfur

 content, sour crude oil was also highly corrosive and caused leaks and other

 problems in equipment designed at the time to process sweet crude oil. By dictating

 the type and amount of crude oil available to the refinery, and by allocating a type

 of crude oil that PAW-District II refineries were not equipped to process, the

 Government impacted the waste profile of the refinery.

       52.   The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Roosevelt Mount Pleasant Refinery during the

 wartime period. Such control extended to the type and specifications of the products

 and the level of production. The Government authorized certain product runs, and

 denied others, depending on changing priorities. For example, the Government



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 directed the Roosevelt Mount Pleasant Refinery to decrease gasoline yields to make

 various grades of intermediate products, including kerosene, tractor fuel and diesel

 fuel. The Government also determined that the crude oil run at the Roosevelt Mount

 Pleasant Refinery was more suited for the production of special naphtha than motor

 gasoline, and ordered that “gasoline and other products, such as naphthas not used

 for the testing of carburetors, are to be subordinated to the extent required for the

 manufacture of this carburetor naphtha." By dictating the products manufactured

 (i.e., the outputs)—and their level of production—the Government controlled how

 the refinery operated on a day-to-day basis.

       53.      The Roosevelt Mount Pleasant Refinery also converted its operations

 to produce certain products, particularly intermediate products, like kerosene and

 diesel fuel.     Compliance with wartime requests to increase production of

 intermediate products, and decrease gasoline production, required the Roosevelt

 Mount Pleasant Refinery to shut down a cracking unit. As noted above, the

 Government also dictated that the refinery produce special naphtha used in testing

 carburetors. In a letter to the PAW, the refinery noted “how completely we have

 transformed our operations to the war effort. We do not believe any refinery in the

 country can show a better percentage of shift from peace time commercial activities

 to a furtherance of the war effort.” Because the Government dictated these and other

 changes, the Government controlled day-to-day operations at the refinery.



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       54.   In addition to controlling the inputs and outputs at the Roosevelt Mount

 Pleasant Refinery, the Government also exercised control over the prices at which,

 and the purchasers to whom, products were sold. The PAW controlled supply chain

 logistics and maintained authorization power over the sale of war products. While

 some negotiation over price occurred during the wartime period, profits were

 routinely limited and the PAW maintained final price approval authority over

 wartime contracts.

       55.   The Government’s control over the Roosevelt Mount Pleasant Refinery

 extended to hazardous waste generation, releases and disposal. Through direction,

 management and control over the refinery’s inputs and outputs, the Government not

 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Roosevelt Mount Pleasant Refinery. PAW-District

 II compiled monthly production statistics and submitted a summary of production

 yields, including “losses,” to PAW’s Headquarters. The Roosevelt Mount Pleasant

 Refinery experienced losses in different ways, some of which took the form of

 normal releases from 1940-era equipment and operating units or through disposal of

 process wastes using typical methods of the time. Regardless, by dictating the

 production of war products, which necessitated changes in refining processes, the

 Government controlled and acted as an operator of the Roosevelt Mount Pleasant




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 Refinery. As such, the Government is responsible for the releases and disposal of

 the hazardous wastes or substances generated or caused during such time.

         56.      Investigations into contamination at the Roosevelt Mount Pleasant

 Refinery site have revealed the presence of CERCLA-listed hazardous substances.

 MDEQ determined that hazardous substances attributable to the site posed a

 migration risk with the potential to contaminate drinking water, adjacent surface

 water, and the Chippewa River.2 Several phases of environmental investigation

 identified contamination in soil, groundwater, surface water, and sediments at the

 site. Investigation revealed volatile organic and semi-volatile organic compounds

 and metals, including mercury, chromium, arsenic, lead, copper, nickel, zinc,

 selenium, thallium, and cyanide. MDEQ determined the comingled hazardous

 substances at the site posed a threat to human health and/or the environment, which

 could cause an imminent and substantial endangerment to public health, safety, and

 welfare. These findings necessitated the response activities taken at the site and

 prompted two administrative consent orders pursuant to state law.

         57.      MDEQ determined that response activities needed to be taken at the

 site, and such activities have been performed in substantial compliance with the NCP



 2
   The Roosevelt Mount Pleasant Refinery site is bounded by the Chippewa River to the east and the western portion
 of the site contains wetlands. Groundwater discharges to the Chippewa River and the primary site objective is the
 protection of the Chippewa River and river sediments from being adversely affected from venting groundwater.
 Releases stem from historic operations, including refinery processes, storage, waste handling and treatment, and
 handling of additives and petrochemical feedstocks. Hydrocarbons and metals adhered to the soil matrix and dissolved
 in groundwater.


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 and under the supervision of and in coordination with MDEQ. For example, MDEQ

 required response activities and further investigation to determine the source, nature,

 extent, and impact of contamination at the site and actions to abate any threat to

 public health, safety, or welfare, or the environment, caused by the release or

 threatened release of hazardous substances, pollutants, or contaminants from the site.

 Sampling and investigation have been undertaken in accordance with MDEQ

 directives and guidance. Measures have been put in place to monitor and control

 groundwater contamination threats, including interim hydraulic control wells

 installed to intercept groundwater plumes near the Chippewa River. Response

 activities have also included a remedial investigation, feasibility study, and risk

 assessment report submitted to MDEQ. The Risk Assessment Addendum identified

 response action alternatives prior to implementation. Ecological risks were also

 evaluated and considered.       Agency requirements, requests, submissions, and

 oversight (including as set forth or provided in the consent orders), and other

 community relations and notice activities, have satisfied any applicable public

 information and community relations requirements.

       58.    The Roosevelt Mount Pleasant Refinery was shut down in the 1960’s.

 Pursuant to an asset purchase agreement, in 2008 Plaintiff MRP purchased the

 Roosevelt Mount Pleasant Refinery site and acquired certain rights and benefits that

 encompass the right to pursue cost recovery claims. Since that time, MRP has



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 incurred and will continue to incur additional response costs in addressing

 contamination resulting, at least in part, from the Government’s operations of the

 Roosevelt Mount Pleasant Refinery during the wartime period.

              4.     The Bell Ardmore Refinery

       59.    The former Bell Oil and Gas Company (through its wholly-owned

 subsidiary, the Ben Franklin Refining Company) owned and operated a refinery

 located in Ardmore, Oklahoma (the “Bell Ardmore Refinery”). During the wartime

 period, the Government exercised day-to-day control over the operations of the Bell

 Ardmore Refinery.

       60.    The Bell Ardmore Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period. The Bell

 Ardmore Refinery routinely requested additional allocations of crude oil (and tetra-

 ethyl lead) from the Government. The PAW routinely denied these requests, only

 authorizing allocations in quantities limiting the throughput of the refinery, at least

 in part as a way to control the refinery’s product runs and limit the manufacture of

 certain products the PAW deemed non-essential to the war effort. By limiting the

 supply of crude oil and other raw materials (i.e., the inputs), the Government

 controlled the day-to-day operations of the Bell Ardmore Refinery.

       61.    In addition to limiting the amount of crude available to the Bell

 Ardmore Refinery, the Government also controlled the type of crude oil allocated.



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 Most refineries in PAW-District II (which included the Bell Ardmore Refinery) were

 equipped to process “sweet” crude oil.       As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which

 had a higher sulfur content and required additional refining and processing in order

 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was also highly corrosive and caused leaks and other problems in equipment

 designed at the time to process sweet crude oil. By dictating the type and amount of

 crude oil available to the refinery, and by allocating a type of crude oil that PAW-

 District II refineries were not equipped to process, the Government impacted the

 waste profile of the refinery.

       62.    The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Bell Ardmore Refinery during the wartime

 period. Such control extended to the type and specifications of the products and

 their level of production. For example, the Government directed the Bell Ardmore

 Refinery to make various grades of avgas, 80-octane all-purpose military gasoline,

 avgas components (including codimer), kerosene and other products.              The

 Government also authorized certain product runs, and denied others, depending on

 changing priorities. For example, the Bell Ardmore Refinery was required by the

 Government to change its operations in order to maximize the production of Navy

 diesel fuel and kerosene during the wartime period. By dictating the products



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 manufactured (i.e., the outputs)—and their level of production—the Government

 necessarily controlled how the refinery operated on a day-to-day basis.

        63.    The Bell Ardmore Refinery also converted its operations to produce

 critical wartime products, particularly codimer. Such conversions were subject to

 Government approval before construction could begin.         By maintaining final

 authorization over construction projects, ultimately approving all construction

 designs, and allocating critical construction materials during the war, the

 Government was intimately involved with waste processing and disposal decisions

 at the refinery.

        64.    In addition to controlling the inputs and outputs at the Bell Ardmore

 Refinery, the Government also exercised control over the prices at which, and the

 purchasers to whom, products were sold. For example, the Government established

 the formula for determining prices at which the Bell Ardmore Refinery could sell

 product to third parties in the Government-controlled supply chain. While some

 negotiation over price occurred during the wartime period, profits were routinely

 limited and the PAW maintained final price approval authority over wartime

 contracts.

        65.    The Government’s control over the Bell Ardmore Refinery extended to

 hazardous waste generation, releases and disposal. Through direction, management

 and control over the refinery’s inputs and outputs, the Government not only knew



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 about but oversaw the amount and type of wastes (i.e., “losses”) generated (and

 ultimately released) at the Bell Ardmore Refinery. PAW-District II compiled

 monthly production statistics and submitted a summary of production yields,

 including “losses,” to PAW’s Headquarters.           The Bell Ardmore Refinery

 experienced losses in different ways, some of which took the form of normal releases

 from 1940-era equipment and operating units or through disposal of process wastes

 using typical methods of the time. Regardless, by dictating the production of war

 products, which necessitated changes in refining processes, the Government

 controlled and acted as an operator of the Bell Ardmore Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.

       66.    Investigations into contamination at the Bell Ardmore Refinery site

 have revealed the presence of CERCLA-listed hazardous substances, including but

 not limited to volatile organic compounds, semi-volatile organic compounds, and

 metals, including barium, chromium, arsenic, nickel, and lead. This contamination

 necessitated the response actions taken at the site to date, which have been performed

 in substantial compliance with the NCP under the supervision of and in coordination

 with EPA and the Oklahoma Department of Environmental Quality (“ODEQ”).

       67.    For example, ODEQ and EPA Region 6 have overseen the cleanup

 process and conducted inspections and evaluations of the site. Environmental



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 consultants were retained to investigate the site and numerous reports have been

 submitted to state and federal environmental agencies, including risk assessment

 reports, an RFI, and work plans.     The facility received a RCRA permit and

 constituents of concern were monitored and evaluated according to EPA risk-based

 screening values and/or naturally-occurring background levels.            Federal

 environmental agency sources were used to find toxicity reference values for

 contaminants of potential concern when evaluating risk. Interim response actions

 were implemented to intercept migrating contamination and protect Sand Creek,

 which is located along the eastern boundary of the Bell Ardmore Refinery site. EPA

 and ODEQ requirements, requests, submissions, and oversight, and other

 community relations and notice activities, have satisfied any applicable public

 information and community relations requirements.

       68.   Plaintiff Valero-OK purchased the Bell Ardmore Refinery in 2006 and

 has since incurred and will continue to incur response costs in addressing

 contamination resulting, at least in part, from the Government’s operations of the

 Bell Ardmore Refinery during the wartime period.

             5.    The Vickers Potwin Refinery

       69.   The former Vickers Petroleum Company owned and operated a refinery

 located in Potwin, Kansas (the “Vickers Potwin Refinery”). During the wartime




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 period, the Government exercised day-to-day control over the operations of the

 Vickers Potwin Refinery.

       70.    The Vickers Potwin Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period.

 Specifically, the Vickers Potwin Refinery fell under a series of PAW-District II

 crude oil allocation orders that authorized crude oil in limited quantities, at least in

 part, as a way to control refinery product runs and limit the manufacture of certain

 products the PAW deemed non-essential to the war effort. By limiting the supply of

 crude oil and other raw materials (i.e., the inputs), the Government controlled the

 day-to-day operations of the Vickers Potwin Refinery.

       71.    In addition to limiting the amount of crude oil available to the Vickers

 Potwin Refinery, the Government also controlled the type of crude oil allocated.

 Most refineries in PAW-District II (which included the Vickers Potwin Refinery)

 were equipped to process “sweet” crude oil. As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which

 had a higher sulfur content and required additional refining and processing in order

 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was also highly corrosive and caused leaks and other problems in equipment

 designed at the time to process sweet crude oil. By dictating the type and amount of

 crude oil available to the refinery, and by allocating a type of crude oil that PAW-



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 District II refineries were not equipped to process, the Government impacted the

 waste profile of the refinery.

       72.    The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Vickers Potwin Refinery during the wartime

 period. Such control extended to the type and specifications of the products and the

 level of production. The Government authorized certain product runs, and denied

 others, depending on changing priorities.       For example, during the war, the

 Government directed the Vickers Potwin Refinery to immediately produce

 “maximum quantities of codimer” to meet increased need for high-octane avgas in

 the armed forces. By dictating the products manufactured (i.e., the outputs)—and

 their level of production—the Government necessarily controlled how the refinery

 operated on a day-to-day basis.

       73.    The Vickers Potwin Refinery also converted its operations to produce

 wartime products, including converting its non-selective catpoly plant to the

 production of codimer. The Government approved the project design and scope,

 utilizing its final authorization power over steel allocation and construction

 decisions. As noted in a letter from the PAW, “[s]ince no one has had much

 experience in manufacturing codimer, the process is one requiring rigid control . . .

 .” Because the Government dictated and granted final approval authorizing this and

 other changes, the Government controlled day-to-day operations at the refinery.



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       74.       In addition to controlling the inputs and outputs at the Vickers Potwin

 Refinery, the Government also exercised control over the prices at which, and the

 purchasers to whom, products were sold. The PAW controlled supply chain logistics

 and maintained authorization power over the sale of war products. The PAW

 determined the price at which Vickers Petroleum could sell its codimer and diverted

 shipments from certain customers to others. For example, the Government diverted

 shipments of codimer during the war from Standard Oil (Louisiana) to Standard Oil

 (California).

       75.       The Government’s substantial control over the Vickers Potwin

 Refinery extended to hazardous waste generation, releases and disposal. Through

 direction, management and control over the refinery’s inputs and outputs, the

 Government not only knew about but oversaw the amount and type of wastes (i.e.,

 “losses”) generated (and ultimately released) at the Vickers Potwin Refinery. PAW-

 District II compiled monthly production statistics and submitted a summary of

 production yields, including “losses,” to PAW’s Headquarters. The Vickers Potwin

 Refinery experienced losses in different ways, some of which took the form of

 normal releases from 1940-era equipment and operating units or through disposal of

 process wastes using typical methods of the time. Regardless, by dictating the

 production of war products, which necessitated changes in refining processes, the

 Government controlled and acted as an operator of the Vickers Potwin Refinery. As



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 such, the Government is responsible for the releases and disposal of the hazardous

 wastes or substances generated or caused during such time.

       76.    Investigations into contamination at the Vickers Potwin Refinery site

 have revealed the presence of CERCLA-listed hazardous substances. Groundwater

 analysis shows contamination impacts the groundwater.           Constituents include

 volatile organic compounds, semi-volatile organic compounds, and metals,

 including antimony, beryllium, cobalt, chromium, lead, nickel, vanadium, zinc, and

 other CERCLA-listed hazardous substances. Contamination in the groundwater was

 found to be detrimental to the environment and potentially a public health hazard.

 This contamination necessitated the response actions taken to date at the site, which

 have been performed in substantial compliance with the NCP and under the

 supervision of and in coordination with state regulators.

       77.    For example, environmental consultants have completed assessment

 reports for the purpose of evaluating contamination, site conditions, and the impact

 of historic operations on the site.     Assessments included site inspection and

 interviews. The Kansas Department of Health and Environment (“KDHE”) has been

 involved in the investigation and cleanup activities that have taken place at the site

 through consent orders. Groundwater wells were installed at the site. Under the

 oversight of the KDHE, a Supplemental Work Plan was prepared to further

 characterize the perched aquifer impacts and evaluate the vapor migration pathway.



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 A Supplemental Comprehensive Investigation report was completed as part of an

 approved work plan with the goals of characterizing the soil, geology, surface water,

 and groundwater, and identifying possible source areas and potential contaminant

 migration pathways.3 Response activities and investigation have followed the

 KDHE risk-based cleanup levels and policies for soil and groundwater. Agency

 requirements, permitting, requests, submissions, and oversight (including those set

 forth or provided in the consent orders), and other community relations and notice

 activities, have satisfied any applicable public information and community relations

 requirements.

         78.      The Vickers Potwin Refinery was shut down by 1964. Pursuant to an

 asset purchase agreement, in 2008 Plaintiff MRP purchased a certain portion of the

 former Vickers Potwin Refinery site and acquired certain rights and benefits that

 encompass the right to pursue cost recovery claims. Since that time, MRP has

 incurred and will continue to incur additional response costs in addressing

 contamination resulting, at least in part, from the Government’s operations of the

 Vickers Potwin Refinery during the wartime period.




 3
  The Vickers Potwin Refinery is located in the Flint Hills physiographic province. Contamination impacted the Water
 River Basin. Brush Creek bisects the southern portion of the property and Diamond Creek is located in the northwest
 corner of the site. Brush Creek and Diamond Creek flow into the Whitewater River.


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              6.    The Delta Memphis Refinery

       79.    The former Delta Refining Company owned and operated a refinery

 located in Memphis, Tennessee (the “Delta Memphis Refinery”).            During the

 wartime period, the Government exercised day-to-day control over the operations of

 the Delta Memphis Refinery.

       80.    The Delta Memphis Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period. For

 example, while the Delta Memphis Refinery required 4,000 barrels of crude oil each

 day to run at full capacity, the PAW threatened to cut crude oil allocations to fewer

 than 2,000 barrels per day. Delta notified the PAW that such an allocation would

 force the plant to shut down completely. An intended effect of the PAW’s crude oil

 allocations was to control the refinery’s product yields and limit the manufacture of

 certain products that the PAW deemed non-essential to the war effort. By limiting

 the supply of crude oil and other raw materials (i.e., the inputs), the Government

 controlled the day-to-day operations of the Delta Memphis Refinery.

       81.    In addition to limiting the amount of crude oil available to the Delta

 Memphis Refinery, the Government also controlled the type of crude oil allocated.

 Most refineries in PAW-District II (which included the Delta Memphis Refinery)

 were equipped to process “sweet” crude oil. As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which



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 had a higher sulfur content and required additional refining and processing in order

 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was also highly corrosive and caused leaks and other problems in equipment

 designed at the time to process sweet crude oil. By dictating the type and amount of

 crude oil available to the refinery, and by allocating a type of crude oil that PAW-

 District II refineries were not equipped to process, the Government impacted the

 waste profile of the refinery.

       82.    The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Delta Memphis Refinery during the wartime

 period. Such control extended to the type and specifications of the products and the

 level of production. The Government authorized certain product runs, and denied

 others, depending on changing priorities. For example, Delta estimated losses of

 $6,000 per month because the PAW directed Delta to increase the manufacture of

 residual fuels, but did not allocate sufficient crude oil to allow Delta to manufacture

 non-essential gasoline products. In August 1943, the Government directed the Delta

 Memphis Refinery to increase gasoline and distillate fuel yields. The Government

 also directed the Delta Memphis Refinery that “[a]bsolute maximum amounts of

 kerosene should be made” to address a short-term wartime deficiency. By dictating

 the products manufactured (i.e., the outputs)—and their level of production—the

 Government necessarily controlled how the refinery operated on a day-to-day basis.



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       83.     The Delta Memphis Refinery also converted its operations to produce

 wartime products and worked with the Government to expand capacity. Early in the

 war, the Government “rendered to Delta Refining Company all necessary assistance

 in securing priorities for still, condenser, exchanger and boiler tubes, together with

 other materials incidental and necessary to the construction of the additional

 capacity.”    The Government also maintained final approval authority over all

 wartime construction projects. By maintaining final approval authority over all

 construction projects and allocating the specific materials necessary for such

 projects, the Government controlled both the short and long-term scope of refinery

 operations.

       84.     In addition to controlling the inputs and outputs at the Delta Memphis

 Refinery, the Government also exercised control over the prices at which, and the

 purchasers to whom, products were sold.          For example, the Office of Price

 Administration increased the price of the Tinsley crude oil that comprised the

 majority of the Delta Memphis Refinery’s crude oil allocation, but refused to also

 raise the corresponding prices of the wartime products manufactured at the Delta

 Memphis Refinery. Delta feared these price constraints could put it out of business,

 but the Office of Price Administration maintained the prices, at least in part, because

 the Delta Memphis Refinery was “not an especially important plant, either from a

 refining or supply standpoint.” The PAW also controlled the companies to whom



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 Delta was authorized and required to supply war products. Through unprecedented

 control of the entire petroleum industry supply chain, the Government effectively

 operated the Delta Memphis Refinery, going as far as to set pricing controls and

 crude oil allocations that could, potentially, drive out of business “unimportant,”

 smaller refineries like the Delta Memphis Refinery.

       85.   The Government’s substantial control over the Delta Memphis

 Refinery extended to hazardous waste generation, releases and disposal. Through

 direction, management and control over the refinery’s inputs and outputs, the

 Government not only knew about but oversaw the amount and type of wastes (i.e.,

 “losses”) generated (and ultimately released) at the Delta Memphis Refinery. PAW-

 District II compiled monthly production statistics and submitted a summary of

 production yields, including “losses,” to PAW’s Headquarters. The Delta Memphis

 Refinery experienced losses in different ways, some of which took the form of

 normal releases from 1940-era equipment and operating units or through disposal of

 process wastes using typical methods of the time. Regardless, by dictating the

 production of war products, which necessitated changes in refining processes, the

 Government controlled and acted as an operator of the Delta Memphis Refinery. As

 such, the Government is responsible for the releases and disposal of the hazardous

 wastes or substances generated or caused during such time.




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       86.    The Delta Memphis Refinery is located adjacent to Nonconnah Creek

 and McKellar Lake. Groundwater has shown a correlation with fluctuations in the

 depth of Mississippi River water levels. The site has been evaluated and overseen

 by the Tennessee Department of Health and Environment (“TDHE”) and EPA.

       87.    Investigations into contamination at the Delta Memphis Refinery site

 have revealed the presence of CERCLA-listed hazardous substances.               EPA

 performed environmental sampling and prepared a report outlining the results of soil,

 subsurface soil, surface water, sediment, and groundwater samples. Based on the

 potential for contaminated groundwater migration, EPA consultants recommended

 additional evaluation. EPA prepared a Reassessment Report that evaluated the

 presence of inorganic contamination, including findings where arsenic exceeded

 EPA Preliminary Remediation Goals and the presence of other metals. Target

 Analyte List metals, including aluminum, arsenic, cadmium, copper, lead, mercury,

 nickel, vanadium, and manganese, were detected at elevated concentrations.

 Organic compounds, pesticides, PCBs, and other contaminants were also detected

 and evaluated. TDHE conducted a preliminary assessment of the facility and

 identified disposed tank bottoms, reactor catalysts, and waste oil.             This

 contamination necessitated the response actions taken at the Delta Memphis

 Refinery site to date, which have been performed in substantial compliance with the




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 NCP and under the supervision of and in coordination with state and federal

 regulators.

       88.     For example, an initial “Remedial Action Plan” outlined the

 investigation and additional testing necessary to evaluate and monitor threats at the

 Delta Memphis Refinery site and to properly delineate the horizontal extent of

 contamination through additional monitoring wells. This report was submitted to

 and approved by TDHE.         EPA created a Reassessment Report summarizing

 investigation and contamination results. A Groundwater Hydraulic Control System

 was implemented to control a contaminated plume through hydraulic control, the

 system is used on an ongoing basis, and monitoring and sampling continues under

 TDHE supervision.       Current response action activities and cleanup goals

 contemplate final remedial action when operations cease in order to permanently

 remediate the site. Efforts continue to stabilize the contaminated plumes. Agency

 requirements, requests, submissions, and oversight (including as set out or provided

 for in the state order), and other community relations and notice activities, have

 satisfied any applicable public information and community relations requirements.

       89.     Plaintiff Premcor purchased the Delta Memphis Refinery in 2003 and

 subsequently transferred it to Plaintiff Valero-TN in 2008. Valero-TN has since

 incurred and will continue to incur response costs in addressing contamination




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 resulting, at least in part, from the Government’s operations of the Delta Memphis

 Refinery during the wartime period.

              7.    The Kanotex Arkansas City Refinery

       90.    The former Kanotex Refining Company owned and operated a refinery

 located in Arkansas City, Kansas (the “Kanotex Arkansas City Refinery”). During

 the wartime period, the Government exercised day-to-day control over the

 operations of the Kanotex Arkansas City Refinery.

       91.    The Kanotex Arkansas City Refinery was subject to the Government’s

 specific allocations of crude oil and other raw materials. At one point during the

 wartime period, refinery personnel wrote to the Government regarding the refinery’s

 crude oil allocation: “We cannot make the suggested maximum amounts of critical

 materials due to this lack of crude. In other words, our crude position is desperate.”

 Without an allocation of crude oil, the Kanotex Arkansas City Refinery simply could

 not run.    By controlling the raw materials (i.e., the inputs), the Government

 controlled the day-to-day operations of the Kanotex Arkansas City Refinery.

       92.    In addition to limiting the amount of crude oil available to the Kanotex

 Arkansas City Refinery, the Government also controlled the type of crude oil

 allocated. Most refineries in PAW-District II (which included the Kanotex Arkansas

 City Refinery) were equipped to process “sweet” crude oil. As the war progressed,

 though, the Government required that PAW-District II refineries process “sour”



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 crude oil, which had a higher sulfur content and required additional refining and

 processing in order to manufacture finished products. Due to its higher sulfur

 content, sour crude oil was also highly corrosive and caused leaks and other

 problems in equipment designed at the time to process sweet crude oil. By dictating

 the type and amount of crude oil available to the refinery, and by allocating a type

 of crude oil that PAW-District II refineries were not equipped to process, the

 Government impacted the waste profile of the refinery.

       93.   The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Kanotex Arkansas City Refinery during the

 wartime period. Such control extended to the type and specifications of the products

 and the level of production. The Kanotex Arkansas City Refinery produced avgas

 components at the direction of the Government and entered into a contract to produce

 7-0-2 diesel fuel for the Navy. The Kanotex Arkansas City Refinery converted its

 operations in order to maximize the production of both Navy diesel fuel and kerosene

 at various times during the wartime period. By dictating the products manufactured

 (i.e., the outputs)—and their level of production—the Government necessarily

 controlled how the refinery operated on a day-to-day basis.

       94.    The Government also impacted and controlled personnel and labor

 issues at the Kanotex Arkansas City Refinery. For example, the PAW prevented the




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 refinery’s chief engineer from being drafted so that the refinery could continue to

 produce critical wartime products.

       95.   The Government’s control over the Kanotex Arkansas City Refinery

 extended to hazardous waste generation, releases and disposal. Through direction,

 management and control over the refinery’s inputs and outputs, the Government not

 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Kanotex Arkansas City Refinery. PAW-District II

 compiled monthly production statistics and submitted a summary of production

 yields, including “losses,” to PAW’s Headquarters. The Kanotex Arkansas City

 Refinery experienced losses in different ways, some of which took the form of

 normal releases from 1940-era equipment and operating units or through disposal of

 process wastes using typical methods of the time. Regardless, by dictating the

 production of war products, which necessitated changes in refining processes, the

 Government controlled and acted as an operator of the Kanotex Arkansas City

 Refinery. As such, the Government is responsible for the releases and disposal of

 the hazardous wastes or substances generated or caused during such time.

       96.   The Kanotex Arkansas City Refinery site is located at the confluence

 of the Arkansas and Walnut Rivers. The site may be described as a complex leaky

 groundwater system with ready connection between surface water and the




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 segmented, underlying uppermost aquifer.            Contaminated groundwater flows

 towards the Walnut River.

       97.   Investigations into contamination at the Kanotex Arkansas City

 Refinery site have revealed the presence of CERCLA-listed hazardous substances,

 including but not limited to volatile organic compounds, semi-volatile organic

 compounds and metals, such as arsenic, barium, cadmium, chromium, and lead.

 This contamination has necessitated the response actions taken at the site to date,

 which have been performed in substantial compliance with the NCP and under the

 supervision of and in coordination with EPA Region 7 and KDHE.

       98.   For example, multiple work plans, a corrective measures study, and

 multiple investigation reports have been submitted and approved. Environmental

 consultants were retained to investigate the site and numerous borings and wells

 were installed to characterize the subsurface and groundwater at the site. EPA

 conducted a RCRA Facility Assessment and approved a RCRA Facility

 Investigation that included multiple investigation reports. EPA also approved a

 Corrective Measures Study. A Human Health Risk Assessment was also submitted

 to KDHE and EPA for soil and groundwater as well as surface water and sediment.

 A Screening Level Ecological Risk Assessment for soil, groundwater, surface water,

 and sediment, and a Soil and Investigation Work Plan, were also required, which

 identifies data gaps required to be filled to complete the site-wide soil assessment



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 for surface soils to 10 feet below ground surface. Groundwater containment and

 recovery and soil vapor recovery are ongoing. Agency requirements, requests,

 submissions, and oversight, and other community relations and notice activities,

 have satisfied any applicable public information and community relations

 requirements.

       99.    The Kanotex Arkansas City Refinery was shut down in 1996. Pursuant

 to an asset purchase agreement, in 2008 Plaintiff MRP purchased the Kanotex

 Arkansas City Refinery site and acquired certain rights and benefits that encompass

 the right to pursue cost recovery claims. Since that time, MRP has incurred and will

 continue to incur additional response costs in addressing contamination resulting, at

 least in part, from the Government’s operations of the Kanotex Arkansas City

 Refinery during the wartime period.

              8.    The Worth Blue Island Refinery

       100. The former Worth Refining Company owned and operated a refinery

 located in Blue Island, Illinois (the “Worth Blue Island Refinery”). During the

 wartime period, the Government exercised day-to-day control over the operations of

 the Worth Blue Island Refinery. The Worth Blue Island Refinery was a small

 refinery, struggling with bankruptcy issues and governed by a trustee, and thus more

 susceptible to Government control.




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       101. The Worth Blue Island Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period. The

 Worth Blue Island Refinery regularly suffered from insufficient allocations of crude

 oil (and tetra-ethyl lead) from the Government. The PAW authorized crude oil

 allocations in quantities limiting the throughput of the refinery, at least in part as a

 way to control the refinery’s product runs and limit the manufacture of certain

 products the PAW deemed non-essential to the war effort. The PAW rejected the

 Worth Blue Island Refinery’s request to manufacture avgas, and the refinery was

 instructed to focus on production of motor gasoline, kerosene, distillates and residual

 fuels. As a result, the PAW routinely limited the refinery’s crude oil allocations. At

 one point, the Worth Blue Island Refinery was forced to shut down operations due

 to a lack of crude oil. By limiting the supply of crude oil and other raw materials

 (i.e., the inputs), the Government controlled the day-to-day operations of the Worth

 Blue Island Refinery.

       102. In addition to limiting the amount of crude oil available to the Worth

 Blue Island Refinery, the Government also controlled the type of crude oil allocated.

 Most refineries in PAW-District II (which included the Worth Blue Island Refinery)

 were equipped to process “sweet” crude oil. As the war progressed, though, the

 Government required that PAW-District II refineries process “sour” crude oil, which

 had a higher sulfur content and required additional refining and processing in order



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 to manufacture finished products. Due to its higher sulfur content, sour crude oil

 was also highly corrosive and caused leaks and other problems in equipment

 designed at the time to process sweet crude oil. By dictating the type and amount of

 crude oil available to the refinery, and by allocating a type of crude oil that PAW-

 District II refineries were not equipped to process, the Government impacted the

 waste profile of the refinery.

       103. The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Worth Blue Island Refinery during the

 wartime period. Such control extended to the type and specifications of the products

 and the level of production. Specifically, the Government refused to allow the Worth

 Blue Island Refinery to make various grades of avgas, but frequently directed the

 refinery to make various types and quantities of motor gasoline, kerosene and other

 products.    The Government also issued directives that required compulsory

 participation in the Navy 7-0-2 diesel fuel program. The Government authorized

 certain product runs, and denied others, depending on changing priorities. For

 example, when the kerosene supply was facing an extreme shortage, the Worth Blue

 Island Refinery shifted operations almost entirely away from motor gasoline to

 produce yields of nearly half kerosene and range oil for an entire month. By

 dictating the products manufactured (i.e., the outputs)—and their level of




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 production—the Government necessarily controlled how the refinery operated on a

 day-to-day basis.

       104. The PAW approved a Worth Blue Island Refinery application for

 construction of equipment for 80-octane all-purpose military gasoline. When the

 Worth Blue Island Refinery later attempted to convert its operations to produce

 critical war products, particularly 87-octane avgas, the PAW denied the request and

 instructed the Worth Blue Island Refinery to focus its operations on motor gasoline.

 By maintaining the final authorization over construction projects and ultimately

 approving construction designs during the war, the Government assumed

 responsibility for the waste products and disposal practices inherent in refining

 operations of the time.

       105. The Government’s control over the Worth Blue Island Refinery

 extended to hazardous waste generation, releases and disposal. Through direction,

 management and control over the refinery’s inputs and outputs, the Government not

 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Worth Blue Island Refinery. PAW-District II

 compiled monthly production statistics and submitted a summary of production

 yields, including “losses,” to PAW’s Headquarters. The Worth Blue Island Refinery

 experienced losses in different ways, some of which took the form of normal releases

 from 1940-era equipment and operating units or through disposal of process wastes



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 using typical methods of the time. Regardless, by dictating the production of war

 products, which necessitated changes in refining processes, the Government

 controlled and acted as an operator of the Worth Blue Island Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.

       106. The State of Illinois entered into a consent order with Premcor under

 state law for investigation activities that would determine the nature and extent of

 contamination. Investigations into contamination at the Worth Blue Island Refinery

 site have revealed the presence of CERCLA-listed hazardous substances in the soil

 and groundwater, including but not limited to volatile organic compounds, semi-

 volatile organic compounds, and metals, such as chromium, cobalt, cyanide, iron,

 nickel, manganese, thallium, and arsenic in concentrations above risk-based

 screening levels. This contamination has necessitated the initial investigation and

 any other response actions taken at the site to date, which have been performed in

 substantial compliance with the NCP and under the supervision of and in

 coordination with the Illinois EPA.

       107. For example, environmental consultants have conducted investigation

 and prepared reports summarizing findings and characterizing the site. The Illinois

 EPA Toxicity Assessment Unit has reviewed submissions and revisions to

 investigation reports. A Remedial Investigation (RI) Report was submitted to



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 Illinois EPA and subsequently revised following input and comments. Approved

 investigation work plans for areas of the site were developed based on historical site

 operations and subsurface data collected from prior limited site investigations. A

 Screening Level Ecological Risk Assessment was developed in the RI Report. The

 nature and extent of contamination in site media was established by comparing

 investigation soil, groundwater, sediment, and surface water chemical results to a set

 of approved human health risk-based screening criteria predominantly comprised of

 EPA Regional Screening Levels. Illinois Tiered Approach to Corrective Action

 Objectives, Applicable or Relevant and Appropriate Requirements, and other

 guidance documents and standards were also considered. Monitoring wells were

 also installed to characterize the site. Upon selection of an appropriate response

 action in the Feasibility Study, Illinois EPA will solicit public comment. Agency

 requirements, requests, submissions, and oversight (including as set forth or

 provided in the consent order), and other community relations and notice activities,

 have satisfied any applicable public information and community relations

 requirements.

       108. Plaintiff Premcor purchased the Worth Blue Island Refinery in 1988,

 and ceased refining operations in 2001. Since the shutdown, Premcor has incurred

 and will continue to incur response costs in addressing contamination resulting, at




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 least in part, from the Government’s operations of the Worth Blue Island Refinery

 during the wartime period.

              9.     The Gulf Port Arthur Refinery

       109. Gulf Oil Corporation (“Gulf”) owned and operated the “Gulf Port

 Arthur Refinery” located in Port Arthur, Texas during the wartime period. At the

 time, the Gulf Port Arthur Refinery had one of the largest throughput capacities in

 the nation. Due to its size and capacity, the refinery was of particular interest to the

 Government in its efforts to control the petroleum supply chain and coordinate

 wartime manufacturing across the country. As such, the Government exercised day-

 to-day control over the operations of the Gulf Port Arthur Refinery through various

 recommendations, directives, orders and other direct involvement during WWII.

       110. The Gulf Port Arthur Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period. For

 example, in 1943, the PAW told Gulf it was “now directed to limit the total input

 including crude, casing head, condensate, and other raw materials for your Port

 Arthur plant to 120,809 barrels per calendar day.” One intended effect of PAW’s

 crude oil allocations and precise throughput limitations was to control the refinery’s

 product yields and limit non-essential products “which, if not controlled, will

 adversely affect the war program.”        The Government also limited crude oil

 allocations with regard to specific refinery needs. For example, Gulf requested



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 permission to run additional crude oil to produce No. 2 fuel oil, but the PAW denied

 the request, directing Gulf to simply acquire the No. 2 fuel oil from another refiner

 because “the position of this office has not changed,” and “information available to

 this office indicates there is a great sufficiency of No. 2 oil in your immediate

 vicinity.” By dictating the amount of crude oil and other feed stocks the Gulf Port

 Arthur Refinery was authorized to run, the Government controlled the day-to-day

 operations of the refinery.

       111. The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Gulf Port Arthur Refinery during the wartime

 period. Such control extended to the type and specifications of the products and the

 level of production.    Because the Gulf Port Arthur Refinery was capable of

 manufacturing 100-octane avgas, a critical war product, the Government paid

 particular attention to the refinery’s avgas operations. For example, as the war

 progressed, the PAW informed Gulf of “an acute shortage of 100 octane avgas” and

 instructed the refinery to “immediately increase its contribution to the 100 octane

 program,” even if it shifted production away from other important war products. On

 numerous occasions, Gulf took steps “at the request and with the approval of [PAW]

 to produce more aviation gasoline or aviation gasoline constituents or stock.”

 Government control extended beyond 100-octane avgas, and the Government

 frequently prioritized other products as well. For example, the Government advised



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 Gulf by telegram to “extract the maximum quantities of whichever of the following

 products are produced at your plant: 100 and 91 octane number aviation gasoline

 and components thereof, toluene, butadiene, petroleum synthetics and petroleum

 coke.” By dictating the products manufactured (i.e., the outputs)—and their level of

 production—the Government necessarily controlled how the refinery operated on a

 day-to-day basis.

       112. In addition to controlling the inputs and outputs at the Gulf Port Arthur

 Refinery, the Government also exercised control over the prices at which, and the

 purchasers to whom, products were sold. For example, the PAW established the

 price Gulf could charge for avgas. The established price had to “meet two separate

 standards of measurement: (1) it must be intrinsically low enough to be economical

 for use under the prevailing circumstances and (2) however high or low it might be,

 it must be established to our satisfaction that it does not contain any abnormal profit

 element nor any improper amortization factor.” The PAW also approved the price

 at which Gulf could sell its codimer products. Overall, the PAW controlled supply

 chain logistics and maintained final authorization and approval power over the sale

 and price of war products.

       113. The Government utilized the combination of its extensive war powers

 and a network of comprehensive contractual arrangements to maintain control over

 the Gulf Port Arthur Refinery. Because the Government controlled the entire



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 petroleum supply chain and could cut crude oil allocations or seize refineries that

 resisted Government production orders, refiners had little choice but to enter into

 contracts with the Government that limited profits and formalized some of the

 Government’s authority over the facility. For example, in 1942, the Government

 entered into a 100-octane avgas contract with Gulf. The contract called for storage

 of a standing avgas inventory and facility expansion to meet wartime avgas demand.

 Additionally, that same year, the Rubber Reserve Company entered into a contract

 with Gulf to supply feed stock for synthetic rubber production. In accordance with

 the contract, the Government owned and operated a pipeline that traversed portions

 of the Gulf Port Arthur Refinery.

       114. The Gulf Port Arthur Refinery also converted its facilities to the

 manufacture of war products, particularly 100-octane avgas. Gulf began to expand

 avgas production facilities “at the request of [the Office of Petroleum Coordinator

 for War] in the summer of 1941,” before the United States’ formal entrance into

 WWII. Construction was started without a contract, but as the war progressed and

 the Government developed a network of contractual arrangements with various

 refiners, the Government and Gulf entered into a contract to formalize the

 construction plans. The Government also controlled the allocation of steel and other

 necessary construction materials, and maintained final authorization and approval

 over all construction projects and designs. In addition to total control over the entire



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 upstream and downstream supply chain, by requesting that the Gulf Port Arthur

 Refinery convert equipment to the manufacture of wartime products and authorizing,

 approving and controlling the construction of new processes that failed to prevent

 the release of hazardous waste, the Government effectively disposed of, or

 intentionally arranged for the disposal of, hazardous wastes during the war.

       115. The Government also exercised control over the labor force at Port

 Arthur. In May 1945, following a dispute between a pipefitter and his foreman, the

 workers at the Gulf Port Arthur Refinery went on strike for four days. In response,

 the PAW wrote to Gulf that “the strike on the part of the employees of your Port

 Arthur Refinery has resulted in extremely serious losses of petroleum products

 vitally needed by the armed forces… I therefore urge that you do everything within

 your ability to terminate the work stoppage at once and submit the issues which may

 be in dispute between you and your employees to those agencies of the government

 which have been established for the settlement of such disputes.” Ultimately, the

 Government’s War Labor Board ended the strike, ordering “parties to this dispute to

 immediately place the plant back in operation… all striking employees are directed

 to report for work on regular shift and company is directed to accept them.” Had

 the War Labor Board not ended the strike, a local newspaper reported it was a

 “virtual certainty that if the controversy is not settled promptly the Army will move

 in and take charge of the plan[t].”



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       116. The Government’s substantial control over the Gulf Port Arthur

 Refinery extended to hazardous waste generation, releases and disposal. Through

 control over the refinery’s inputs and outputs, as well as final authorization powers

 over specific product runs, the Government not only knew about but dictated the

 amount and type of wastes (i.e., “losses”) generated at the refinery. PAW identified

 such “losses” in production sheets, which were generally provided monthly to the

 refinery to set out expected yields for crude allocations. The Gulf Port Arthur

 Refinery experienced losses in different ways, some of which took the form of

 normal releases from 1940-era equipment and operating units or through disposal of

 process wastes using typical methods of the time. Regardless, by dictating the

 production of war products, which necessitated changes in refining processes, the

 Government controlled and acted as an operator of the Gulf Port Arthur Refinery.

 As such, the Government is responsible for the releases and disposal of the

 hazardous wastes or substances generated or caused during such time.

       117. Investigations into contamination at the Gulf Port Arthur Refinery site

 have revealed the presence of CERCLA-listed hazardous substances.               EPA

 performed a corrective action and compliance evaluation inspection and determined

 that historical releases have taken place at the site. EPA found volatile organic

 compounds, semi-volatile organic compounds, and metals at the site. EPA and the

 Texas Natural Resource Conservation Commission determined that imminent and



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 substantial endangerment conditions existed at the site, prompting the parties to enter

 into agreed orders and conduct urgent investigation and response activities. These

 EPA findings and the contamination at the site have necessitated the response actions

 taken at the site to date, which have been performed in substantial compliance with

 the NCP and under the supervision of and in coordination with EPA and the Texas

 Commission on Environmental Quality (“TCEQ”).

       118. For example, EPA required the submission of a sampling and analysis

 work plan for monitoring, testing, analysis, and reporting to ascertain the nature and

 extent of the hazards posed by hazardous wastes that are present at or released from

 the site and implement that plan upon approval. TCEQ approved numerous response

 action plans and other submissions at the site on an iterative basis.         Agency

 requirements, requests, submissions, and oversight (including as set forth or

 provided in the agreed orders), and other community relations and notice activities,

 have satisfied any applicable public information and community relations

 requirements.

       119. Plaintiff Premcor acquired a portion of the Gulf Port Arthur Refinery

 in 1994 and has since incurred and will continue to incur response costs in addressing

 contamination resulting, at least in part, from the Government’s operations of the

 Gulf Port Arthur Refinery during the wartime period.




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              10.   The Eastern States Houston Refinery

       120. The former Eastern States Petroleum Company owned and operated a

 refinery located in Houston, Texas (the “Eastern States Houston Refinery”). During

 the wartime period, the Government exercised substantial day-to-day control over

 the operations of the Eastern States Houston Refinery. The Government also owned

 portions of the facility during the war, including avgas manufacturing facilities,

 easements, pipelines, tankage and other equipment.

       121. The Eastern States Houston Refinery was subject to specific

 Government allocations of crude oil and other raw materials during the wartime

 period. By controlling the supply of crude oil and other raw materials (i.e., the

 inputs), the Government necessarily controlled the day-to-day operations of the

 Eastern States Houston Refinery.

       122. The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Eastern States Houston Refinery during the

 wartime period, with a focus on maximizing the refinery’s output of aviation

 gasoline. Such control extended to the type and specifications of the products and

 the level of production.

       123. In addition to controlling the inputs and outputs at the Eastern States

 Houston Refinery, the Government also exercised control over the prices at which,

 and the purchasers to whom, products were sold. For example, per a Government



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 inspector, if Eastern States was “directed by PAW to sell base stock purchased by

 their Government-owned alkylation unit to some other refinery, it [was] not sold on

 its actual cost of production, but on a fixed price set by PAW.” The PAW controlled

 supply chain logistics and maintained final authorization and approval power over

 the sale and price of war products.

       124. The Government utilized the combination of its extensive war powers

 and comprehensive contractual arrangements to maintain control over the Eastern

 States Houston Refinery. Because the Government controlled the entire petroleum

 supply chain and could cut crude oil allocations or seize refineries that resisted

 Government production orders, refiners had little choice but to enter into contracts

 with the Government that limited profits and formalized some of the Government’s

 authority over the facility. For example, the Government entered into a series of

 100-octane aviation gasoline contracts with Eastern States because “the production

 of 100-octane aviation gasoline and other aviation gasoline conforming to the

 specifications provided … and the expansion of refining capacity for such

 production within the United States are important to the interest of the National

 Defense Program of the Government of the United States.” The contracts allowed

 the Government to set and adjust pricing, direct which suppliers of charge stocks

 and avgas components Eastern States could purchase from, control the delivery of




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 finished products to other locations or refineries, and granted the Government rights

 to purchase all of the avgas produced at the facility.

       125. The aviation gasoline contracts included a leasing agreement whereby

 the Government acquired property from Eastern States and then leased the property

 back to Eastern States to operate an avgas plant. Under the contract, Eastern States

 was obligated to construct and operate the Defense Plant Corporation-owned

 aviation gasoline facilities that made up Plancor 911. Per PAW’s George Parkhurst,

 Plancor 911 was “built in conjunction with” Eastern States’ existing refinery, was

 integrated into refinery equipment through various pipelines and required feed stock

 from the Eastern States Houston Refinery in order to produce aviation gasoline. The

 Government owned the rights of way where pipelines connected the Plancor to the

 main refinery. The Government also furnished storage tanks to meet the entire

 storage requirement for avgas produced at the facilities, releasing Eastern States

 from any obligation to furnish its own tankage for avgas operations. As such, the

 Government is a former owner and operator of the integrated DPC avgas plant and

 Eastern States Houston Refinery, including pipelines, rights of way, storage tankage

 and other equipment used during the war.

       126. The Government also owned a second Plancor at the Eastern States

 Houston Refinery during the war, Plancor 1534, which was approximately 20 acres

 in size and located within the boundaries of the original Eastern States Houston



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 Refinery.   In constructing Plancor 1534, the Rubber Reserve Company (a

 Government corporation and subsidiary of the Reconstruction Finance Corporation)

 authorized the conversion of existing refinery equipment to the manufacture of

 butadiene, and the DPC authorized Eastern States to purchase up to $500,000 in

 machinery, materials and equipment “suitable for the manufacture of butadiene in

 the name and for the account of DPC.” The DPC approved each purchase order

 relating to the construction of Plancor 1534. The ten-building Plancor 1534 was

 constructed “in accordance with plans and specifications under the supervision of

 the [DPC].” On December 5, 1942, the Government and Eastern States entered into

 a leasing agreement for Plancor 1534. Before the Plancor was completed, however,

 the DPC was forced to suspend construction work. Ultimately, Plancor 1534

 manufactured C-4 cut feedstock during the war, but the facilities “were never

 employed to capacity since [the] purification plant was never finished.”

       127. Eastern States converted facilities and was forced to shift operations at

 the Houston Refinery to meet war product demands. The Government maintained

 final approval authority over all wartime construction and conversion projects. The

 Government also controlled steel allocations necessary for facility conversion

 projects, and allocated repurposed, low-quality metals that were purchased second-

 hand and subject to corrosion problems. The DPC also approved Eastern States’

 construction contracts with various contractors. Specifically, the construction of



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 Plancor 1534 included the conversion of an existing cracking plant into a butadiene

 manufacturing plant, which required pouring new foundations and dismantling or

 reconditioning equipment. At Plancor 911, the Government arranged for Eastern

 States to construct the 100-octane avgas equipment necessary to meet wartime

 demands. The Government, through its authority to control allocations of necessary

 construction materials and as an owner of the land during the time of construction,

 approved of and moved forward with Plancor facility designs despite waste

 generation inherent in operations and the inadequacy of waste disposal designs.

 Because the Government was intimately involved in construction and conversion

 projects at the refinery, the Government was directly involved in waste operations

 and disposal at the site.

       128. In addition to allocating construction materials and approving designs

 for construction projects generally, certain Government projects were for the

 specific purpose of waste management and disposal. The Eastern States Houston

 Refinery had significant corrosion issues, of which the Government was well aware.

 Plancor 911 required dozens of repair and replacement projects to address corrosion

 problems. For example, during the war, in order to better contain releases it was

 “necessary to install a protective liner in the isomerization reactor column because

 of severe corrosion.” Surface water drainage at the Eastern States Houston Refinery

 was inadequate during the war and “an expensive additional outfall to the ship



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 channel was constructed to take care of excess surface water disposal.” These

 projects demonstrate that the Government approved, authorized, supervised and

 directed the construction of projects related to releases of hazardous substances,

 waste management practices and actual waste disposal.

       129. The operation of the Government-owned avgas Plancor 911 changed

 the waste profile of the Eastern States Houston Refinery. The Plancor was designed

 without any provision to treat or dispose of the 60 barrels/day of acid polymer waste.

 With the acid polymer waste mixed into the waste stream, Eastern States could not

 recover and re-run slop oil from the Plancor 911 separator. As a result, Eastern

 States had to store this slop oil instead of re-running it, as was the practice at the

 main refinery. Eastern States requested permission from the PAW to sell this acid

 polymer-contaminated slop oil, but the PAW required Eastern States to dispose of

 the slop oil from Plancor 911 at the main refinery (known as Plant 1), writing that

 “we do not doubt but that you would prefer to dispose of this stock elsewhere as you

 have mentioned before, but the Defense Plant was built in conjunction with your

 refinery in order to take advantage of the facilities in that refinery. The recovery of

 slop oils, which is a necessary function in any refinery, can only be handled in Plant

 1 because Plant 2 [the avgas Plancor] is not equipped for such operations, the

 facilities being already available in the existing refinery.”      The PAW further

 informed Eastern States that slop oil should not be “burned in Plant 2 and under no



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 circumstances should slop disposition interfere with maximum production of 100

 octane.” These statements by George Parkhurst, PAW’s Assistant Director of

 Refining, are indicative of the Government’s policy to intentionally build Federally-

 owned wartime facilities at or adjoining petroleum refineries in order to use existing

 refinery waste handling infrastructure, and thereby avoid constructing separate

 facilities for managing wastes from the Federal facilities, even when it was known

 that the additional waste load would negatively impact existing refinery waste

 handling and disposal systems.

       130. The Government also exercised control over labor at the Eastern States

 Houston Refinery. The Government contracted with Eastern States to finance the

 necessary training of refinery personnel hired to operate the avgas Plancor located

 on Government-owned land during the war. A Government loan for training

 employees was paid back with a portion of the sales price of war products. During

 the war, the Government’s War Labor Board established average wage rates for

 employees at the refinery’s Plancor facilities.         Finally, in at least some

 circumstances, the DPC reviewed, evaluated and approved, upon PAW’s

 recommendation, employee salaries.

       131. The Government also conducted inspections of the refinery through the

 Bureau of Budget and U.S. Army.            These on-site inspections allowed the

 Government to supervise, oversee and review operations at the refinery, including



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 waste management and disposal operations. The Government was aware of and

 involved in waste management and disposal operations and decisions, as

 Government inspections noted numerous corrosion issues that caused equipment

 shutdowns.

       132. Through its day-to-day control over operations of the Eastern States

 Houston Refinery, including those directly related to waste, the Government acted

 as an operator of the facility. As an owner of portions of the facility, the Government

 actually or constructively possessed hazardous materials stored in and/or released

 from Government equipment or located on Government land at the Eastern States

 Houston Refinery. The Government disposed of hazardous waste during the war.

 As such, the Government is responsible for the releases and disposal of the

 hazardous wastes or substances generated or caused during such time.

       133. Investigations into contamination at the Eastern States Houston

 Refinery site have revealed the presence of CERCLA-listed hazardous substances.

 Drainage from the site is into the Houston Ship Channel in Stream Segment No.

 1007 of the San Jacinto River Basin. This stream segment is used for industrial

 water supply and navigation. During Texas Water Commission inspections, it was

 noted that oily water was being pumped out of recovery wells and oil seeped into

 the ship channel. Groundwater contamination was verified with samples and further

 inspection.   The plumes were determined to be comingled with hazardous



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 substances, including priority volatile organic compounds and 16 detected semi-

 volatile compounds, which prompted an agreed order to be entered with the Texas

 Water Commission to protect the shipping channel.

       134. This contamination has necessitated the response actions taken at the

 site to date, which have been performed in substantial compliance with the NCP and

 in coordination with EPA and state regulators. For example, initial response

 activities have followed EPA guidance documents, including the RCRA Ground-

 Water Monitoring Technical Enforcement Guidance Document for planning and

 installing monitoring wells.    Environmental consultants were hired and site

 conditions were evaluated pursuant to a Groundwater Quality Assessment report.

 Groundwater investigation was conducted and submitted to the Texas Water

 Commission. Sampling analysis followed EPA methods and were analyzed for

 priority pollutant volatile organic and semi-volatile organic compounds. Subsequent

 investigation and reports were submitted to TCEQ and reviewed by professional

 geoscientists. Response activities are being undertaken under TCEQ oversight and

 are designed to prevent discharges of contaminated groundwater to the Houston Ship

 Channel. Agency requirements, requests, submissions, and oversight (including as

 set forth or provided in the agreed order), and other community relations and notice

 activities, have satisfied any applicable public information and community relations

 requirements.



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       135. Plaintiff Valero-TX acquired the Eastern States Houston Refinery in

 1986 and has since incurred and will continue to incur response costs in addressing

 contamination resulting, at least in part, from the Government’s ownership and

 operations of the Eastern States Houston Refinery during the wartime period.

             11.    The Caminol Hanford Refinery

       136. The former Caminol Company owned and operated a refinery located

 in Hanford, California (the “Caminol Hanford Refinery”). During the wartime

 period, the Government exercised day-to-day control over the operations of the

 Caminol Hanford Refinery.

       137. The Caminol Hanford Refinery was subject to specific Government

 allocations of crude oil and other raw materials during the wartime period and

 experienced delays in receiving those supplies. Without timely allocations of crude

 oil and other supplies, the Caminol Hanford Refinery simply could not run. By

 controlling the raw materials (i.e., the inputs), the Government controlled the day-

 to-day operations of the Caminol Hanford Refinery.

       138. The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Caminol Hanford Refinery during the wartime

 period. Such control extended to the type and specifications of the products and the

 level of production. Specifically, the Caminol Hanford Refinery produced avgas

 and alkylation feed at the direction of the Government. Upon confirmation of the



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 refinery’s ability to produce avgas, the Government requested that Caminol

 immediately rearrange its yields to maximize production of critical war products. In

 fact, the Government requested that the Caminol Hanford Refinery limit the

 production of more profitable motor gasoline in order to maximize production of

 avgas and residual fuel. The Government “appreciate[d] the fact that the refining

 companies [were] being asked to absorb a reduced profit by doing so.”

       139. In addition, the Caminol Hanford Refinery converted its operations to

 the production of wartime products, submitting proposals to the PAW for

 authorization and approval of such projects. Specifically, the Caminol Hanford

 Refinery converted equipment to make more butanes, constructed equipment to

 produce naphtha, and remodeled its cracking furnace, all of which was subject to

 PAW authorizations. The PAW reviewed designs for these construction plans and

 approved the changes. By reviewing, approving and maintaining final authorization

 over construction plans at the refinery, the Government assumed responsibility for

 the waste products and disposal practices inherent in these operations.

       140. The Government’s control over the Caminol Hanford Refinery

 extended to hazardous waste generation, releases and disposal. Through direction,

 management and control over the refinery’s inputs and outputs, the Government not

 only knew about but oversaw the amount and type of wastes (i.e., “losses”) generated

 (and ultimately released) at the Caminol Hanford Refinery. The PAW identified



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 such “losses” in monthly production sheets.         The Caminol Hanford Refinery

 experienced losses in different ways, some of which took the form of normal releases

 from 1940-era equipment and operating units or through disposal of process wastes

 using typical methods of the time. Regardless, by dictating the production of war

 products, which necessitated changes in refining processes, the Government

 controlled and acted as an operator of the Caminol Hanford Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.

       141. The Caminol Hanford Refinery lies within the Tulare Lake Basin

 Hydrologic Unit, designated as beneficial for municipal, domestic, agricultural, and

 industrial water supply. Investigations at the Caminol Hanford Refinery site have

 revealed the presence of CERCLA-listed hazardous substances and other

 contamination, including but not limited to petroleum hydrocarbons, volatile organic

 compounds, and lead in soil and groundwater. Groundwater containing comingled

 contaminants presented a migration threat, which required additional investigation.

 This contamination was determined to pose a threat to human health and/or the

 environment and necessitated the response actions taken at the site to date, which

 have been performed in substantial compliance with the NCP and under the

 supervision of and in coordination with state regulators.




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       142. For example, environmental consultants were retained and numerous

 site assessments were performed to characterize the site. Appropriate response

 action alternatives were evaluated before selection and implementation of a

 preferred alternative. Further, work plans have been developed to ensure proper

 implementation of the selected response action and have included elements required

 by the NCP. The existing site-specific Health and Safety Plan was amended in

 accordance with applicable federal and state regulations, all appropriate well permits

 were obtained, and the Central Valley Regional Water Quality Control Board

 (CVRWQCB) has had significant involvement at the site. Groundwater and soil

 vapor systems are in place. Finally, CVRWQCB requirements, requests,

 submissions, and oversight, and other community relations and notice activities,

 have satisfied any applicable public information and community relations

 requirements.

       143. Plaintiff Ultramar (f/k/a The Caminol Company, Ltd.) constructed the

 Caminol Hanford Refinery in the 1930s, whose operations have been shut down

 since 1985. More recently, Ultramar has incurred and will continue to incur response

 costs in addressing contamination resulting, at least in part, from the Government’s

 operations of the Caminol Hanford Refinery during the wartime period.




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             12.    The Caminol Santa Fe Springs Refinery

       144. The former Caminol Company also owned and operated a refinery

 located in Santa Fe Springs, California (the “Caminol Santa Fe Springs Refinery”).

 During the wartime period, the Government exercised substantial day-to-day control

 over the operations of the Caminol Santa Fe Springs Refinery.

       145. The Caminol Santa Fe Springs Refinery was subject to specific

 Government allocations of crude oil and other raw materials during the wartime

 period and, like the Caminol Hanford Refinery, experienced delays in receiving

 those supplies. Without timely allocations of crude oil and other supplies, the

 Caminol Santa Fe Springs Refinery simply could not run. By controlling the raw

 materials (i.e., the inputs), the Government controlled the day-to-day operations of

 the Caminol Santa Fe Springs Refinery.

       146. The Government also directed and controlled the products

 manufactured (i.e., the outputs) at the Caminol Santa Fe Springs Refinery during the

 wartime period. Such control extended to the type and specifications of the products

 and the level of production. In fact, the Caminol Santa Fe Springs Refinery at one

 point planned to change more than 80% of its production “into uses essential to the

 war effort[,]” including   avgas and avgas blending stock manufactured at the

 direction of the Government. As noted above, the Government requested that




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 Caminol limit the production of more profitable motor gasoline at the Santa Fe

 Springs Refinery in order to maximize production of critical wartime products.

       147. The Caminol Santa Fe Springs Refinery, also at the request of the

 Government, installed specific equipment and facilities to make various grades of

 avgas and alkylation feed and naphtha blending stock as needed by the Government.

 PAW maintained final authorization over wartime construction projects and

 approved designs. Specifically, the Caminol Santa Fe Springs Refinery installed

 facilities to make 91-octane avgas and aviation fuel base stock, constructed a

 reforming unit to make naphtha, and remodeled its cracking unit. By reviewing,

 approving and maintaining final authorization over construction plans at the

 refinery, the Government assumed responsibility for the waste products and disposal

 practices inherent in these operations.

       148. The Government’s substantial control over the Caminol Santa Fe

 Springs Refinery extended to hazardous waste generation, releases and disposal.

 Through direction, management and control over the refinery’s inputs and outputs,

 the Government not only knew about but directed the amount and type of acceptable

 wastes (i.e., “losses”) generated at the refinery. PAW identified such “losses” in

 monthly production sheets. The Caminol Santa Fe Springs Refinery experienced

 losses in different ways, some of which took the form of normal releases from 1940-

 era equipment and operating units or through disposal of process wastes using



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 typical methods of the time. Regardless, by dictating the production of war products,

 which necessitated changes in refining processes, the Government controlled and

 acted as an operator of the Caminol Santa Fe Springs Refinery. As such, the

 Government is responsible for the releases and disposal of the hazardous wastes or

 substances generated or caused during such time.

       149. The Caminol Santa Fe Springs Refinery site is located in the Downey

 Plain of the Central Groundwater Basin of the Los Angeles Coastal Plain in a highly-

 industrialized area of Santa Fe Springs. Investigations have revealed the presence

 of CERCLA-listed hazardous substances, including but not limited to volatile

 organic compounds, semi-volatile organic compounds, and metals, such as

 chromium and lead, and other contaminants of concern.

       150. This contamination has necessitated the response actions taken at the

 site to date, which have been performed in substantial compliance with the NCP and

 in coordination with the Los Angeles Regional Water Quality Control Board

 ("LARWQCB"). The site is under regulatory oversight of the LARWQCB, which

 ordered the assessment of the facility under the California Water Code. For example,

 environmental consultants conducted a Phase I Environmental Site Assessment to

 evaluate the nature and extent of environmental contamination at the site and

 alternatives for cleanup. The report ultimately called for additional investigation

 and characterization work.      Additional investigations, including a Phase II



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 Environmental Site Assessment and Site Characterization Report, were then

 conducted by environmental consultants. The goal of the Site Characterization

 Report was to characterize the site and determine the necessary response actions.

 The Site Characterization Report also contained a Human Health Risk Evaluation.

 Response actions were taken after consideration of the recommended performance

 criteria of the Department of Toxic Substance Control and Guidance for the

 Evaluation and Mitigation of Subsurface Vapor Intrusion to Indoor Air.

 Groundwater monitoring wells and soil vapor systems were put in place on site.

 Samples were analyzed for California Administrative Manual 17 metals, such as

 chromium, mercury, lead, iron and manganese. Following further correspondence

 with the LARWQCB, additional investigation, modeling, and mapping was

 completed.    LARWQCB requirements, requests, submissions, and oversight

 (including those set forth or provided in the state order), and other community

 relations and notice activities, have satisfied any applicable public information and

 community relations requirements.

       151. Plaintiff Ultramar (f/k/a The Caminol Company, Ltd.) purchased and/or

 constructed the Caminol Santa Fe Springs Refinery in the 1930s. More recently,

 Ultramar has incurred and will continue to incur response costs in addressing

 contamination resulting, at least in part, from the Government’s operations of the

 Caminol Santa Fe Springs Refinery during the wartime period.



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                          FIRST CAUSE OF ACTION:

                Response Cost Recovery under CERCLA 107(a),
                            (42 U.S.C. § 9607(a))

       152. Paragraphs 1 - 151 are incorporated herein by reference.

       153. Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), provides, inter alia:

             Notwithstanding any other provision of rule of law, and subject
             only to the defenses set forth in subsection (b) of this section –

                   (1)    the owner and operator of a vessel or a facility,

                   (2) any person who at the time of disposal of any
             hazardous substance owned or operated any facility at which
             such hazardous substances were disposed of,

                   (3) any person who by contract, agreement, or
             otherwise arranged for disposal or treatment, or arranged with a
             transporter for transport for disposal or treatment, of hazardous
             substances owned or possessed by such person, by any other
             party or entity, at any facility or incineration vessel owned or
             operated by another party or entity containing such hazardous
             substances, and

                    (4) any person who accepts or accepted any hazardous
             substances for transport to disposal or treatment facilities,
             incineration vessels or sites selected by such person, from which
             there is a release, or a threatened release which causes the
             incurrence of response costs, of a hazardous substance, shall be
             liable for --
                                              …

                         (B) any other necessary costs of response
             incurred by any other person consistent with the national
             contingency plan…




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                    The amounts recoverable in an action under this section
              shall include interest on the amounts recoverable under
              subparagraphs [(B)].

       154. Defendant is a “person” within the meaning of CERCLA § 101(21), 42

 U.S.C. § 9601(21).

       155. Plaintiffs are informed and believe, and on that basis allege, that there

 have been releases and threatened releases of “hazardous substances,” within the

 meaning of section 101(22) of CERCLA, 42 U.S.C. § 9601(22), at or near the Sites.

 Plaintiffs are further informed and believe, and on that basis allege, that the releases

 or threatened releases are ongoing.

       156. All releases of hazardous substances have occurred at a “facility”

 within the meaning of CERCLA § 101(9), 42 U.S.C. § 9601(9).

       157. Plaintiffs have incurred and will incur necessary costs of response

 pursuant to CERCLA §107(a), 42 U.S.C. § 9607(a), consistent with the NCP 42

 U.S.C. § 9607(a)(4), as a result of releases and/or threatened releases (within the

 meaning of CERCLA § 101(22), 42 U.S.C. § 9601(22)) of hazardous substances at

 and from the Sites. In addition, by contract Plaintiff MRP has the right to seek

 recovery of certain additional response costs.

       158. As a separate claim for relief, certain costs of investigation and

 monitoring are recoverable from “covered persons” as defined under CERCLA §

 107(a), 42 U.S.C. § 9607(a), regardless of whether such costs are NCP-compliant.



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 The Valero Companies have respectively incurred initial or preliminary costs related

 to investigating or monitoring each of the Sites that were necessary and are

 separately recoverable. These costs are divisible from other response costs and will

 be separately proven at trial with additional evidence.

       159. Defendant is a covered person defined in CERCLA § 107(a)(1), (2),

 (3), and/or (4), 42 U.S.C. § 9607(a)(1 – 4). Defendant is therefore jointly and

 severally liable for all response costs incurred or to be incurred by Plaintiffs.

                          SECOND CAUSE OF ACTION:

     Declaratory Relief Under CERCLA § 113(g)(2)(42 U.S.C. § 9613(g)(2))
             and the Declaratory Judgment Act(28 U.S.C. § 2201)

       160. Paragraphs 1 - 159 are incorporated herein by reference.

       161. CERCLA § 113(g)(2), 42 U.S.C. § 9613(g)(2), provides in pertinent

 part: In any action described in this subsection the court shall enter a declaratory

 judgment on liability for response costs or damages that will be binding on any

 subsequent action or actions to recover further response costs or damages.

       162. The Declaratory Judgment Act, 28 U.S.C. § 2201(a), further states: In

 a case of actual controversy within its jurisdiction… any court of the United States,

 upon the filing of an appropriate pleading, may declare the rights and other legal

 relations of any interested party seeking such declaration.

       163. An actual controversy now exists between Plaintiffs and Defendant in

 that Plaintiffs contend that Defendant is a party liable under CERCLA § 107(a), 42

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 U.S.C. § 9607(a) for all response costs incurred and to be incurred by Plaintiffs in

 connection with the release or threatened release of hazardous substances at or

 around the Sites.

        164. Plaintiffs seek a judicial declaration of rights with respect to the

 Defendant pursuant to CERCLA § 113(g)(2), 42 U.S.C. § 9613(g)(2), and 28 U.S.C.

 § 2201, binding the Defendant in any subsequent action or actions to recover further

 response costs or other damages incurred by Plaintiffs, as appropriate and in the

 interest of justice.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:

                             FIRST CLAIM FOR RELIEF

        For payment of the Government’s fair share of all necessary costs of response

 incurred by Plaintiffs, or for which Plaintiffs have a right of recovery, as a result of

 any release or threatened release of hazardous substances at the Sites.

                           SECOND CLAIM FOR RELIEF

        For a declaratory judgment that Defendant is jointly and severally liable for

 all (or some portion) of any costs, damages and liability Plaintiffs may incur as a

 result of any release or threatened release of hazardous substances at the Sites.




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                            THIRD CLAIM FOR RELIEF

       For payment of the Government’s fair share of all necessary costs of initial

 investigation or monitoring incurred by Plaintiffs, or for which Plaintiffs have a right

 of recovery, in evaluating or addressing any potential release or threatened release

 of hazardous substances at the Sites.

                           ON ALL CLAIMS FOR RELIEF

       a.     For Plaintiffs’ costs of suit herein;

       b.     For interest on any money judgment;

       c.     For Plaintiffs’ reasonable attorneys’ fees; and

       d.     For such other and further relief as the Court may deem just or

              equitable.




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 Dated: June 1, 2018                        Respectfully submitted,

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 Oklahoma, Valero Refining Company-Tennessee, L.L.C., The Premcor Refining
 Group Inc., Valero Refining-Texas, L.P. and Ultramar Inc.


                          CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of June, 2018, I electronically filed the

 foregoing PLAINTIFFS’ SECOND AMENDED COMPLAINT via the Court’s

 CM/ECF system, which sends a Notice of Electronic Filing to counsel of record.

 Dated: June 1, 2018                           /s/ William C. Petit
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